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Page 1 :

1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION !
3 :
4 GARY BRICE McBAY, :
Plaintiff, ;
5
6 VERSUS CIVIL ACTION NO: 1:07cv1205LG-RHW
7 ,
HARRISON COUNTY, MISSISSIPPI, )
8 by and through its Board of :
Supervisors; HARRISON COUNTY
9 SHERIFF, George Payne, in his /
official capacity; CORRECTIONS :

10 OFFICER MORGAN THOMPSON,
acting under color of state law,

11 Defendants. :

12

13

DEPOSITION OF REGINA L. RHODES

14

15 Taken at the offices of Brown Buchanan,

. P.A., 796 Vieux Marche' Mall, Suite 1, /

16 Biloxi, Mississippi, on Thursday, :

September 17, 2009, beginning at 2:22 :

17 p.m.

18 :

19 APPEARANCES: :

20 PATRICK R. BUCHANAN, ESQUIRE

MARK V. WATTS, ESQUIRE i

21 Brown Buchanan, P.A.

796 Vieux Marche' Mall, Suite 1

22 Biloxi, Mississippi 39530

ATTORNEYS FOR PLAINTIFF /

23 :
JOE C. GEWIN, ESQUIRE

24 Dukes, Dukes, Keating & Faneca, P.A.

2909 13th Street, Sixth Floor . ;

25 Gulfport, Mississippi 39501

ATTORNEY FOR GEORGE PAYNE, JR.

ERASER Wi ERA ASTD SE TOR SIR CES CED A ESCA SCHOLES STH ROR EATS TEE NR IIA SASSER LO BE EA SE ASE LE SER TIER HE TE OE EM EEE STEER TE SEA USERS U EASES AIR ET AH ROR EATERS DLS SNA SER RT EAT ESLER EEE EDS DDT ED EA IER TELE LET RE ROLES OLE

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oO aT HD oO F W NY FF

Center. I'm going to call it the jail just

because I don't want to say four words instead of
one word, frankly. So when I say "jail," can we

understand that I'm referring to the Harrison

County --
A. Yes, Sir.
QO. -~- Detention Center?

All right. When you worked there, are
you familiar with the term "brother by a different
mother," the phrase?

A. Yes, Sir.

Q. What's that mean to you?

A. Well, basically, we shortened it,
brother from another mother. It was just to
explain the closeness between the folks that
worked at the jail.

Q. All right. The correction officers that
worked together?

A. Yes, sir.

Q. And y'all were close and relied on each
other and depended on each other?

A. Yes, Sir.

Q. All right. Have you heard the term "red
light, green light"?

A. Yes, Sir.

TIE RAE HN ESE SN EE ES ER OTE HBO DEAE TE SUR ES ESE STL RESCH PRERENDER RELL RAINE OE A OSE ERATE ERRATIC TEA BS ESTERASE DEDEDE END SDT EE ENE LEASED LLL LEE EERE AEE EES ASE

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SERA
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oOo aT HD oO FP W DY FF

Q. Was that a phrase that was used in
booking?
A. Yes, Sir, it was.

Q. Tell us what that phrase means to you.

A. Red light would be the facial area,
anything that you -- you weren't supposed to hit
anything that would show on a booking photo, and
green light would be the rest of the body.

QO. All right. And how did y'all come to
use red light, green light and determine where you
should and shouldn't hit?

A. Well, after Deputy Thompson had a
particularly bad booking shot of an inmate named
Only, OIC Teel had a impromptu meeting with our
shift in the back of booking and inmate records
and said that red light, green light -- you know,
that the chief was -- the chief, Captain Gaston,
was upset about the booking photo and that we
needed to be more careful.

Q. All right. Be more careful where you
hit people?

A. Yes, sir.

Q. Okay. So it's okay to hit folks just as
long as it didn't show up on the booking photo?
MR. GEWIN:

Page 10 |

ESTE oT DOE

2
BES Oe ae LO DE EEA NOPD IEG S DS SOP SIE OS ORL RL RL UN OPS Se DAE LOS OTTO NS EO EESTI PE OEE RS SUT IL SIRE BSE TER OS EME DB TS ES HOE I TARAS ATS EMO DLO EER LE EDL ESS ULES DS ELODIE,

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Page 11

Object to leading.
MS. YOUNG:
Object to the form.
MR. BUCHANAN:
Oo. Subject to the objection, did you hear

my question?

a om oO FPF W DN fF

A. Yes, sir, I did.
8 Q. Okay. So it was okay to hit people as
9 long as it didn't show up on the booking photo?
10 A. Yes, sir.
11 — QO. People in booking, I mean, there are
12 different legal terms for them, inmates, detainees
13 and all of that. I'm going to call them inmates
14 just for sake of ease again, not necessarily
15 subscribing any legal terms or get you to give me
16 legal opinions on the different rights owed to an
17 inmate versus a detainee and all of that. Okay?
18 Was it common, in your experience when you were
19 there, for inmates that were brought in there to
20 be taunted by the correction officers?
21 A. Yes, sir.
22 Q. Tell us about that.
23 A. Tf the inmate came in and was either
24 running their mouth or, you know, belligerent in

25 any way, you know, even if they weren't sometimes,

TOLL TST ean a EDSON EE oe EE a OUT TELS DONUT ELL BT TDL DUDE UT DED ONDE REET E BN LDU OES UR EO OED DDO DROP ULSTER RP SON ROE coo ENS GENERA oD Sa oD OS SESE EDDA LSND BREA DODO IE

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1 the officers would start picking on them, taunting

2 them, you know, if -- in particular, if somebody

3 was looking at you, you know, looking at you hard,

4 you know, you might say if you're feeling froggy

5 jump or, you know, you're looking at me like you”

6 want to hit me, go ahead, stuff to that effect.

7 Q. Did you hear Officer Teel ever taunt

8 inmates?

9 A. Yes, sir.
10 QO. Did you hear Officer Thompson ever taunt :
1i inmates?
12 A. Yes, sir.
13 Q. Did you hear Officer Wills ever taunt
14 inmates?
15 A. Yes, Sir.
16 Q. How about Officer Stolze, did he ever
17 taunt the inmates?
18 A. Yes, sir.
19 Q. And Officer Thompson has pled guilty to
20 charges arising out of his employment there at the
21 jail and is serving time?
22 A. Yes, sir.
23 Q. All right. And the same with Officer
24 Stolze?
25 A. Yes, sir.

Fey Heo OD CEL ODEO ST LEE RE DOPE BRIE EOE ADS ERE TEES DESO DE ET FEET BT DOS TOLD ESF CE AAD OT ENO OES OIE EL ER OE ETA TO DRE IDE TSW AAR EI CREDLE TERE OPS THE SB LEO NDE LORIN EL MAO ND AEN

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Oo a HD OO FP W NY EF

LEIA sha

Q. And Officer Priest?

A. Yes, Sir.

Q. And Officer Wills?

A. Yes, sir.

Q. All right. Folks that would come in

had been drinking, were they more apt to be

taunted by these officers?

jump -- and I hate to jump around on you,

A. To me, I would say they appeared to be.
Q. And why is that?

A. They were easier targets.

Q. Give me one minute real quick. Let me

need to ask a couple of questions before I ask

some other questions. So let me go back to

Exhibit 1. On Page 3 of Exhibit 1, it says that,

While she, being you, were assigned to the booking

area,

officers engage in a pattern of physical abuse of

inmates at the jail.

A.
Q.

other correction officers routinely participated

you observed Teel and other corrections

Yes, Sir.

in striking, punching, kicking, choking and

otherwise assaulting inmates in circumstances that

did not justify the use of force.

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but I

Ts that a true statement?

All right. More specifically, Teel and

Is that a true

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who

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Oo wat DD OF FP W NY FF

statement?

A. Yes, Sir, it is.

Q. Those things, that pattern, that
practice of abuse, did that happen -- I mean, did
it happen just on one day during the time you were
there or did it happen for a long period of time
while you were employed there?

A. Tt was almost daily while I was employed
there.

Q. All right. It said, Teel regularly
encouraged other correction officers regarding
their involvement in this conduct. Is that a true
statement?

A. Yes, sir, it is.

Q. Meaning he did things and he got the
other officers involved in the things -- the
assault on the inmates?

A. Yes, Sir.

QO. All right. Additionally, Teel and other
correction officers submitted false, incomplete,
and misleading jail reports for the purpose of

covering up these assaults. Is that a true

statement?
A. Yes, sir.
Q. All right. And it says you were aware

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1 that Teel and other correction officers were

2 submitting false and incomplete and misleading

3 reports to cover up the uses of unnecessary force

4 and failed to report their criminal conduct. Is

5 that a true statement?

6 A. Yes, Sir, it is.

7 Q. All right. Those things that I just

8 read in that paragraph, do those things apply to
9 ‘Officer Stolze?
10 A. Yes, Sir.
11 Q. Do they apply to Officer Priest?
12 A. Yes, Sir.
13 Q. Do they apply to Officer Teel?
14 A. Yes, sir.
15 Q. Do they apply to Morgan Thompson,
16 Officer Thompson?

17 A. Yes, Sir.

18 Q. All right. Were you there on the night

19 the incident happened with Jessie Lee Williams?
20 A. Yes, Sir, I was.
21 Q. Before Mr. Williams was beaten to death,
22 was he taunted by the booking officers?

23 A. Yes, Sir, he was.

24 Q. Did Mr. Williams make any comments or

25 say anything to the booking officers either before
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oOo wa wD oO FP W NYO FF

Page 16

or when they were taunting him?

MR. BRENDEL:

Object to the form. When you're talking
about booking officers, I want to make sure we
know which booking officers we're talking about..
MR. BUCHANAN:

Q. Do you recall who was on duty that
night?
Yes, sir.
Who was on duty that night?
Myself, orc Teel, and Thompson.

Morgan Thompson ~--

PO Ff OO PF

Yes, sir.

Q. --~ and Officer Teel? All right. And
did Officer Teel and Officer Thompson taunt
Mr. Williams?

A. Yes, sir.

Q. Did he say anything to Officer Teel or
Officer Thompson before or when they were taunting
him?

A. While he was handcuffed he said he was
going to beat Teel's ass.

Q. But he was handcuffed when he said that?

A. Yes, sir.

Q. And then after Mr. Williams was beat,

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the nurse was called, right?
A. Yes, sir.
Q. And the nurse looked at him, said he had
a cut lip, cut ear and his eyes were puffy?

A. Yes, sir.

Q. And she also said, I believe, that he

didn't need to go to -- he didn't need to go out

SSS ES HH UESE SET o OSE ENE GER ETE INSEE SGOT GEOG ISOE. oS OSD EDS ETE Ey SESS TEEA ER EE EE

Oo aT HD Oo FBP W DY FF

for AMR?

9 A. Yes, Sir.
10 Q. All right. She said that he was going
11 to live and be okay?
12 A. Yes, sir.
13 Q. And I asked you this, and it's in your
14 pleas. So the booking officers would falsify

15 their reports; is that right?

AEA RENIN

16 A. Yes, sir.

17 MR. GEWIN:

18 Object to the form.

19 MR. BRENDEL:

20 Object to the form, time.

21 MR. BUCHANAN:

22 Q. I'm trying to look for a page

23 discreetly, and I'm not having that much luck, so
24 I apologize. So I'll just tell you that I'm

taking an extra minute here because I can't find

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1 the page that I was looking for. There we go.
2 The objection was time. Would it be
3 fair to say that from when you started in May of
4 2004 until when you left in April of 2006, the
5 corrections officers would falsify reports?
6 A. Yes, sir.
7 MR. BRENDEL:
8 Object to the form, not specifying the
9 correction officers' names.
10 MR. BUCHANAN:
121 Q. You and I have already talked about the
12° names of correction officers who falsified
13 reports, haven't we?
14 A. Yes, sir. | :
15 Q. Thank you.
16 (Exhibit 2 was marked.)

17 MR. BUCHANAN:
18 Q. Exhibit 2 is the Uniform Booking/Arrest

19 Form for William David Seal, and I want to talk to

20 you about that in terms of you weren't on duty /
21 when Mr. Seal was booked into the jail. And let
22 me ask you this: You're aware that there are
23 cameras in the jail, right --
24 A. Yes, sir.
295 Q. -- showing different areas of the

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1 A. Yes.
2 Q. All right. Can we roll forward? All
3 right. What I want you to do here is, if you
4 would, watch the square, the right hand -- in the :
5 right-hand corner and -- yeah, can you back that
6 up for me a little bit? All right. Stop. AIL
7 right. We're at 20:42:33, and you're watching the
8 right-hand, lower right-hand corner square.
9 A. Yes, Sir.
10 Q. And did you see -- stop it. At 20 -- it

11 looks like 20:43:14 or a little bit before. I
12 mean, obviously there's a fuzzy line at the

13 bottom, and the date and time stamp is very hard

BAI SAAT HEE IN SSIR DOIN ANOLON oe PRET SEAS TIS

14 to read, isn't it?
15 A. Yes, sir.
16 QO. All right. But did you see that at the

17 bottom, the legs?

TUSSI ES ENON ET

18 A. Yes, sir.

19 Q. Tell us what you saw or what you believe
20 you saw.
21 A. I believe whichever inmate was standing
22 there had his feet come out from underneath him.
23 Q. All right. And what type of move would
24 a correction officer use on an inmate to take them

25 down to have his feet come out from under him like

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Oo aT DD OF FF W NY FF

BEL NAAT BERLE Son OD NOLL LEE TE OTT SE CEST ED OTD BED REBT SI BTL PO EE LIE ESET ED EES OSE ENOL RA OEE WS UO ETE OE SETI RO PEED CE BOOT ERENT TLE EOE SE DOTTED oT AGO DTT EE OST

that?

A. A leg sweep.

Q. And why would you use a leg sweep?

A. If you needed to place an inmate on the
floor quickly if he was being aggressive.
MR. GEWIN:

Pat, could they back up and show what
you're talking about? I don't see anything in
this particular frame.

MR. BUCHANAN:

All right. Those are the legs right
there, but, yeah, back up.
MR. WATTS:

That's the area you have to watch. You
want to back it up?

MR. BUCHANAN:

Yeah. Back it up, if you can.
MR. WATTS:

Tt's there, 20:43:10.

MR. BUCHANAN:

You missed it, Joe, when you looked down

on your paper.
MR. GEWIN:

I saw something.

MR. BUCHANAN:

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SEEN

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MR. BUCHANAN:

QO. You can answer.

ite CR TD at en RE MeN EIU ED

aS ESTA ED

A. That he was about to have a physical

altercation with an inmate.
Q. So the gloves on, hat backwards meant
that something bad was about to happen?

A. Yes, sir.

Oo a4 WD OO Fe W DN EH

MR. BRENDEL:

9 Object to the form. :
10 MR. BUCHANAN:
11 Q. All right. Go forward. Now, I want you
12 to watch him with this inmate. And did you see
13 that?

14 A. Yes, sir.

15 Q. All right. What did you see?

Se nae an RO REO

16 A. Tt appeared that he -- he either hit him
17 or pushed him down because the inmate fell.

18 Q. Did that look like the inmate was :
19 bending over to take his shoes and socks off?
20 A. No, sir.

21 MR. BRENDEL:

22 Object to the form, speculation.

23 MR. BUCHANAN:

24 Q. Did that look like the inmate was so

25 drunk that he couldn't stand up?

TSR TCU eS DU NONE ond EET TED SADNESS RS HRB RDO RETR OR ELSE EE EASE RSE TST ELLE A OTE ER RMR AER NEE DOE CEE EI ACTER R BD

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Oo aT HD Oo FF W DN FF

A. No, Sir.
MR. BRENDEL:
Object to the form.
MR. BUCHANAN:
Q. Did it look like Officer Thompson
physically took the inmate down?
A. Yes, sir.
MR. BRENDEL:
Object to the form.
MR. GEWIN:

Can we back up and look at that again?
MR. BUCHANAN:

sure.

MR. GEWIN:

Let's do that.
MR. BUCHANAN:

And it's 20:50:19 in there. When I get
a clear shot of a time stamp, I try to call it out
for you.

MS. YOUNG:

And just for the record, the same
objection I stated earlier, that this witness is
not testifying about something she saw when she
was there. She's just giving her opinion as to

what somebody else is doing, which is

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Oo aT HD oO F W DN F

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QO. Tell us what that is.

A. That appears to be a stamp from the
shower grate on the booking floor.

MR. BRENDEL:
object to the form.
MR. BUCHANAN:

Q. All right. And how would inmates get

that kind of stamp?
MR. BRENDEL:
Object to the form.

A. If they were either thrown to the floor
or when they were on the floor, if they were
kicked into the grate.

MR. BUCHANAN:

QO. All right. Is that based on your
personal experience and knowledge of what happened
in the jail?

A. Yes, Sir, it is.

Q. All right. Let's take all of this --
well, let me ask you a couple more questions.
Let's do it this way. Let me ask you a couple
more questions about Brice, and then we'll take a
break. Okay? ~

A. Okay.

Officer Thompson testified that when he

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RAL RAB ERE A

SEERA SUD SELES EET EIT SSE FRED DEEN EL SHS
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“had a discussion with Officer Thompson about that
"X"?
A. Yes, I did.
QO. In that discussion, did Officer Thompson
tell you that "X" came from Brice's head
contacting the drain in the shower?

A. Yes, he did.

Oo aT nD Oo FF WH DN FEF

Q. Based on your training as a correction

Na UE SSE eA OPT I EES ADRS EARLE TT EE EDU He ED OA DD AS EN a

9 officer for the Harrison County Detention Center,
10 was it okay to use force when people cussed you?
11 A. No.
12 Q. So if a drunk cussed you, you couldn't
13 take them down, cuff them or do anything else
14 physical to them?

15 A. No.

16 Q. Or, I guess, you shouldn't?

17 A. Not according to policy. \
18 Q. Mr. Gewin talked with you about brachial
19 plexus stun and if an inmate approached you with a
20 shank, or a shiv I think was the word he used,

21 and, you know, could you defend yourself. Exhibit
22 9 I'm going to show you is Brice's Use of Force

23 Report. If you could just verify for me -- here
24 on the first page where it says --

25 A. Active aggression?

Ta eee eT NER DC TT TRE Sn ne STL LESE EET RL Eo COL DE LTE EET ER TEAL TORU AO PS ESO EET ALOE PIAS EA SED i ROSES ESAS EASED SOL RR RTE ETAL EEH RITE READ DEER IAN EEE AAA ELE EEE SAE ETNA RTE

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